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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA,

                      v.
                                                 Crim. No. 2:15-cr-00155
ROBERT MENENDEZ                                  Hon. William H. Walls

 and

SALOMON MELGEN,
                                  Defendants.


           DEFENDANTS’ MOTION TO DISMISS THE INDICTMENT
    FOR ERRONEOUS INSTRUCTIONS TO THE GRAND JURY ON SPEECH OR
     DEBATE CLAUSE LAW, FIRST AMENDMENT LAW AND OTHER ISSUES
                        (Motion to Dismiss No. 4)

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                                      INTRODUCTION

       The prosecution compromised the independence of the grand jury and its ability to fairly

determine probable cause by providing the grand jury erroneous legal instructions as to what

conduct can be charged and by restricting the scope of what the grand jury could consider while

deliberating. In addition, the model grand jury charge improperly told the grand jury that it must

indict if it found probable cause, when the Supreme Court has held otherwise, and improperly

vouched for the prosecutors. The Indictment must be dismissed.

                                         ARGUMENT

       The Grand Jury Clause provides “[n]o person shall be held to answer for a capital, or

otherwise infamous, crime, unless on a presentment or indictment of a Grand Jury.” U.S. Const.,

amend V. The grand jury serves two important functions in the criminal justice system. It

determines “whether there is probable cause to believe a crime has been committed” and, more

importantly, protects citizens against “unfounded criminal prosecutions.”       United States v.

Calandra, 414 U.S. 338, 343 (1974).

        [The grand jury] has been regarded as a primary security to the innocent against
       hasty, malicious and oppressive prosecution; it serves the invaluable function in
       our society of standing between the accuser and the accused . . . to determine
       whether a charge is founded upon reason or was dictated by an intimidating
       power or by malice and personal ill will.

Wood v. Georgia, 370 U.S. 375, 390 (1962); see also see United States v. Cotton, 535 U.S. 625,

634 (2002) (“[T]he Fifth Amendment grand jury right serves a vital function in providing for a

body of citizens that acts as a check on prosecutorial power.”). As Judge Friendly observed:

“That a grand jury may legitimately perform a quasi-equitable function is implicit in its role as

‘an irresponsible utterance of the community at large, answerable only to the general body of

citizens, from whom they come at random, and with whom they are again at once merged.’”




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United States v. Ciambrone, 601 F.2d 616, 629 n.2 (2d Cir. 1979) (Friendly, J., dissenting)

(quoting In re Kittle, 180 F. 946, 947 (S.D.N.Y. 1910) (L. Hand, J.)). But the grand jury cannot

operate as an “independent and informed grand jury” or “determine whether a charge is founded

upon reason” if it receives erroneous jury instructions that compromise the grand jury’s

independence or that misinform the grand jury as to what constitutes probable cause to believe a

particular offense may have been committed. Both types of errors occurred here.

I.     THE PROSECUTORS ERRONEOUSLY INSTRUCTED THE GRAND JURY ON
       THE APPLICABLE LAW AND DISMISSAL IS REQUIRED

       “As a legal advisor to the grand jury, the prosecutor must give the grand jury sufficient

information concerning the relevant law ‘to enable it intelligently to decide whether a crime has

been committed.’” United States v. Twersky, 1994 WL 319367, at *4 (S.D.N.Y. June 29, 1994)

(internal citation omitted). “[W]hile courts are generally reluctant to grant motions to dismiss an

indictment based on faulty instructions, an indictment will be dismissed where, for example, the

evidence clearly establishes a defense to the charge and the government fails to inform the grand

jury of the legal requirements of the defense.” Id. at *4. In addition, “courts tend to look less

leniently upon erroneous legal instructions where the instructions were made with the intent of

precluding a line of relevant inquiry or when other misconduct by the prosecutor suggests a

pattern of overreaching.” Id. A “grand jury indictment” should be dismissed where “the record

shows that the conduct of the prosecuting attorney was flagrant to the point that the grand jury

was ‘deceived’ in some significant way.” United States v. Wright, 667 F.2d 793, 796 (9th Cir.

1982); United States v. Sears, Roebuck & Co., 719 F.2d 1386, 1391 (9th Cir. 1983) (“Dismissal

of an indictment is . . . warranted on constitutional grounds if prosecutorial misconduct has

undermined the grand jury’s ability to make informed and objective evaluation of the evidence

presented to it.”); see also United States v. Hogan, 712 F.2d 757, 759 (2d Cir. 1983) (explaining



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“the gain in prosecutor’s influence over grand juries is all the more reason to insist that these

limitations [on misleading the grand jury] be observed strictly”) (affirming dismissal of

indictment for prosecutorial misconduct before grand jury); United States v. Samango, 607 F.2d

877, 884 (9th Cir. 1979) (affirming dismissal of indictment for prosecutorial abuse before grand

jury); United States v. Ciambrone, 601 F.2d 616, 622 (2d Cir. 1979) (noting a grand jury “must

lean heavily upon the United States Attorney as its investigator and legal advisor”).1

       The prosecution ran afoul of these requirements in at least three respects. First, the

prosecutors refused to answer the grand jurors’ questions about the scope of the Speech or

Debate Clause immunity, and told the grand jurors that it is beyond their authority to decide

Speech or Debate Clause immunity issues. Telling the grand jury that it had to decide whether

there was probable cause to believe Senator Menendez committed various crimes, without being

able to consider whether or not his conduct was immunized by the Constitution, severely

compromised the grand jury’s ability to determine whether those charges were “founded upon

reason.”   Wood, 370 U.S. at 390.        The grand jury’s ability to serve as a buffer, acting

“independently of either prosecuting attorney or judge,” also was compromised by telling the

jury it could not independently determine the immunity issue for itself. Stirone v. United States,

361 U.S. 212, 218 (1960).



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        See also United States v. Sigma Int’l, Inc., 244 F.3d 841, 856 (11th Cir. 2001)
(dismissing indictment for erroneous prosecutorial instructions and other misconduct, noting it
would “dismiss an indictment . . . so overborne by a prosecutor or judge that the indictment was,
in effect, the prosecutor’s or judge’s handiwork, and not the result of considered judgment by an
independently functioning grand jury.”), vacated for en banc review, 287 F.3d 1325 (11th Cir.
2012). Following a subsequent plea, the appeal in Sigma was dismissed as moot without an en
banc opinion, but other courts have found the panel decision persuasive. United States v.
Leeper, 2006 WL 1455485, at *2 n.2 (W.D.N.Y. May 22, 2006); see id. at *5 (dismissing
indictment because letting it stand “would make a mockery out of the entire grand jury process
and render the Grand Jury Clause a nullity”).


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       Second, the grand jury indicted Dr. Melgen and Senator Menendez for bribery involving

political contributions, but it does not appear from any of the transcripts the defense has been

provided that the grand jury received any McCormick instruction regarding the prosecution’s

heightened burden in the political contribution context. (See MTD 8 (First Amendment).)

Campaign contributions can be charged as bribery, “but only if the payments are made in return

for an explicit promise or undertaking by the official to perform or not to perform an official

act.” McCormick v. United States, 500 U.S. 257, 273 (1991) (emphasis added). Because this is

an added requirement on the statutes in question, simply reading the statute to the grand jury

without a specific McCormick instruction would not convey to the grand jury what is needed to

determine whether probable cause exists in the political contribution context. The Indictment

contains no reference to any “explicit” quid pro quo; rather the Indictment reflects that the

government persuaded the grand jury to indict on a basis McCormick found improper – by

looking to whether a legislator acted for the benefits of a donor “shortly before or after campaign

contributions are solicited and received.” Id. at 272. Because a grand jury’s finding of probable

cause to believe a crime has been committed is meaningless when the grand jury is told that

offense is more easily proven than the law allows, the Indictment must be dismissed.2




2
        Relatedly, dismissal is also required because the prosecutors failed to instruct the grand
jury that political contributions by Dr. Melgen to Majority PAC, an independent political action
committee (i.e., “Super PAC”), cannot give rise to quid pro quo corruption unless Majority PAC
coordinated its election expenditures with Senator Menendez. (See MTD No. 9.) In the context
of contributions to and expenditures by independent groups, the Supreme Court “has effectively
held that there is no corrupting ‘quid’ for which a candidate might in exchange offer a corrupt
‘quo,’” SpeechNow.org v. FEC, 599 F.3d 686, 694-95 (D.C. Cir. 2010) (en banc), because “[t]he
intervention of a political action committee that is independent of a specific candidate breaks the
“‘candidate-funding circuit,’” Lodge No. 5 of Fraternal Order of Police ex rel. McNesby v. City
of Philadelphia, 763 F.3d 358, 378 (3d Cir. 2014) (quoting Ariz. Free Enter. Club’s Freedom
Club PAC v. Bennett, 131 S. Ct. 2806, 2826 (2011)).


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       Third, the prosecutors argued to the grand jury that Dr. Melgen gave things of value to

Senator Menendez so Dr. Melgen would gain access to the Senator, but the government does not

appear to have told the grand jury that such “access,” as a matter of law, cannot be the basis for a

bribery charge (even ignoring the fact that Dr. Melgen had the same level of “access” to Senator

Menendez long before he was a Senator). Indeed, the Supreme Court has held that receiving

special access or even favoritism is not corruption, and efforts to cultivate such access are

protected by the First Amendment. See, e.g., Citizens United v. FEC, 558 U.S. 310, 359 (2010).

Because the grand jury was erroneously instructed that constitutionally-protected First

Amendment activity could be the basis for finding probable cause to believe a bribery had been

committed, the Indictment must be dismissed.

       A.      Prosecutors Erroneously Instructed The Grand Jury On Speech Or Debate
               Clause Immunity And Dismissal Is Required.

               1.      The erroneous instruction

       The prosecution asked questions to which Senator Menendez had objected on Speech or

Debate Clause grounds. When they did, grand jurors asked questions about the scope of Speech

or Debate Clause immunity. The prosecutors then erroneously instruction the grand jury that it

was an issue the grand jury could not independently consider, and compromised the grand jury.

This was wrong. Before the grand jury, several witnesses invoked the Speech or Debate Clause,

refusing to answer certain questions that were asked due to that immunity. (See, e.g., Barnard

8/13/14 Tr. at 28, 53-55, 61-63; Palmer 8/13/14 Tr. at 14, 22-37; Talbot 8/13/14 Tr. at 63-71;

Kelly 9/3/14 Tr. at 79; Barnard 11/12/14 Tr. at 16-17, 27, 32, 38, 41-62; Talbot 11/12/14 Tr. at

22-28.) The witnesses often provided their understanding of the relevance of the Speech or

Debate Clause to the issues the grand jury was considering. Emma Palmer, a former policy

advisor to Senator Menendez, explained that she had conferred with her lawyer, and she


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understood that she could answer questions about casework, but “casework would also be

protected under speech and debate” if that “casework might have had a larger public policy

implication[].” (Palmer 8/13/14 Tr. at 24; see id. at 22 (“The question is whether it touched on a

larger public policy issue, whether the specific casework delved into a larger public policy

question.”), 33 (distinguishing “pure casework, without policy implications”).)             Michael

Barnard, another policy advisor to Senator Menendez, explained it was his understanding that the

Speech or Debate Clause applies to deliberations on a pending Presidential nominee awaiting

Senate confirmation. (Barnard 8/13/14 Tr. at 48.) He clarified that, in his opinion, it did not

matter for purposes of the Speech or Debate Clause who a Senator consulted about a nominee,

even if that person is “a lobbyist” or “people who are outside of Congress.” (Id. at 48-49.)

       The witnesses also provided some understanding of how the Speech or Debate Clause

immunizes Senator Menendez. Barnard explained “the Senator has the right to invoke said

privilege in the capacity of his official duties per the Constitution.” (8/13/14 Tr. at 29.) Later,

Prosecutor Koski asked Barnard for his “understanding” of whether a Senator reaching out to the

Executive Branch is “conduct protected by the Speech-or-Debate Clause,” and Barnard answered

that his attorneys advised him it would be. (Id. at 63.) Thus, the grand jury understood it was

Barnard’s belief that the Constitution protects the Senator’s conduct in some situations.

       Kerri Talbot, Senator Menendez’s Chief Counsel, explained the Speech or Debate Clause

gave Senator Menendez a “use privilege.” (Talbot 11/12/14 Tr. at 22). She explained that the

Speech or Debate Clause is “a use privilege, so that my answering the questions about an email

you already have does not affect their waiver of the privilege.” (Id.) After Talbot said that she

would answer the prosecutors’ questions, but that it would not result in a waiver of the Senator’s

privilege, the prosecutor did not ask for an answer, and a grand juror asked: “Didn’t she just say




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she would answer the questions? I don’t understand.” (Id. at 25.) Mr. Koski responded:

“[W]hether she’s prepared to answer the questions doesn’t affect a speech or debate assertion

because the speech or debate clause privilege is held not by this witness but by Senator

Menendez. And so this witness can’t waive that privilege assertion for the Senator.” (Id. at 26.)

Mr. Koski then asked Talbot to confer with Senator Menendez’s counsel about what privileges

the Senator is asserting, and she reported back that the Senator’s counsel advised her “they’re not

my attorney and there’s no reason for them to confer with me about what they’re asserting.”

(Id.) Plainly, Talbot’s testimony conveyed to the grand jury that the Speech or Debate Clause

was a “use privilege” that belonged to the Senator, and this privilege – whatever it is – would not

be waived by her answering the grand jury’s questions.

       Prosecutor Cooney conveyed the same idea, instructing the grand jury that the privilege

“is not held by this witness” and the privilege is “such an important privilege and such an

important part of the constitution” that they were carefully “not eliciting testimony about

something when the senator does not intend to waive it.” (Id. at 27-28.)3 Mr. Cooney correctly

described the Speech or Debate Clause as “important,” but he did not explain why it was

important or why it would be relevant to the grand jury. His instruction made clear that a

situation could arise where a witness disclosed something that was privileged without the

approval of the Senator, but he did not explain the consequence of that, and those consequences

are tremendously important to the grand jury.



3
        As noted in MTD No. 3, the prosecution chose to be less careful about excluding
potential Speech or Debate privileged evidence after the Third Circuit rejected their blanket
claim that the Clause did not apply to the contested evidence. Rather than follow the remand
procedure of allowing the District Court to act as a filter for such contested evidence, the
prosecution chose to bypass the Court altogether and introduce the disputed evidence unilaterally
as hearsay through its case agent. (MTD No. 3 at 1-23.)


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       These explanations did not go far enough, leaving the grand jury with a misimpression of

the law. The grand jury should have been told that it would be improper for Speech or Debate

privileged information to have been disclosed to them, let alone used by them, and not because it

was some sort of secret, like attorney-client privileged information. Most Speech or Debate

privileged information is not secret, but consists of things such as publicly recorded votes,

transcribed speeches and hearings, and published reports. Once the prosecution decided to wade

into the Speech or Debate Clause waters and spurred questions from the grand jury, the grand

jury should have been told that the reason the Speech or Debate Clause is so important is that it

is a source of immunity, and the grand jury cannot consider anything that is covered by the

Clause as a basis for bringing any charge. Just as the grand jury should have been told to

disregard any Speech or Debate privileged information a witness may have disclosed because of

that immunity, the grand jury should have been instructed that any conduct that was covered by

the Clause could not be the basis for any charge. In other words, because covered conduct is

immune, the grand jury should have been instructed that it could not find probable cause to indict

on any charge that depended on proof of an immunized act.

       These various discussions are difficult enough to follow for those few lawyers who have

studied the Speech or Debate Clause. It must have been even more difficult for a lay grand jury

to follow, particularly when the answers were coming in piecemeal through witnesses who

candidly conceded they were not experts on the Clause and were doing their best to follow the

instructions of lawyers who were not permitted in the grand jury room. The grand jurors clearly

had questions.

       After Barnard testified, a grand juror asked the prosecutor: “[C]an you review for us the

terms of the Speech and Debate Clause on what it can or could be used for?” (Barnard 8/13/14




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tr. at 64 (emphasis added).) Mr. Koski explained the “Speech or Debate Clause is a provision in

the Constitution, which says that members of the House or Senate cannot be called into question

for their speech or debate.” (Id. at 64.) He went on to explain that “it has been limited to

legislative activity,” and “not necessarily everything a U.S. Senator or a member of Congress

does in his official capacity, only to legislative activity.” (Id. at 65.) That answer, however, only

partially explained what is covered by the Speech or Debate Clause; it did not even attempt to

explain how it could be used. For example, it does not explain how it can be both a testimonial

privilege that could be used as a basis for refusing to answer a question and – more importantly

in this case – that it is a source of immunity, such that there can be no probable cause to charge

any conduct immunized by the Clause as a crime. It also explained in only a very generic way

what is covered.

        The grand jury understandably had follow-up questions. A grand juror asked: “But that

can include any type of content, dialogue, communication regarding any legislative information

or act?” (Id.) Mr. Koski then explained that he understood why they would “be very curious

about the scope and application of the Speech or Debate Clause” after it had come up so much,

but he refused to answer the question and shut down all discussion about it. He explained:

        I want to make sure that I, I don’t give you too much law on the Speech or Debate
        Clause because this is not an issue for you to decide. You all should not be
        deciding whether or not this is about an invalid assertion of the Speech or Debate
        Clause. That’s an issue that if we need to raise, we’ll bring it before a judge, and
        the judge will make a determination.

(Id.)

        Mr. Koski was wrong. The issue was one for the grand jury, and Mr. Koski’s legal

instruction eliminated any issue of Speech or Debate Clause immunity from consideration by the

grand jury. Rather than tell the grand jury that the Speech or Debate Clause is a source of




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immunity for the Senator, such that there is no probable cause to charge any conduct immunized

by the Clause as a crime, Mr. Koski’s instruction left the impression that the only relevance of

the Clause was with respect to the testimony a grand jury witness may disclose. In addition, Mr.

Koski’s answer told the grand jury not to consider Speech or Debate Clause issues at all. He

would not even give them enough law (what he called “too much law”) so that they could

understand the issue, emphasizing “this is not an issue for you to decide,” that “you should not

be deciding” it, and the only person who may ever decide such issues is a “judge” and, even

then, only if the prosecutors “bring it before a judge.” (Id.)

       Because the prosecutors’ instructions to the grand jury both misinformed the grand jury

about the immunity function of the Speech or Debate Clause and precluded the grand jury from

even considering the issue in determining probable cause, the grand jury’s independence and

ability to fairly evaluate probable cause was compromised.4 The Indictment must be dismissed.

               2.      The need for dismissal

       The prosecution’s refusal to instruct the grand jury on Speech or Debate Clause immunity

and its erroneous instruction that the grand jury could not even consider the issue in determining

probable cause “precluded a line of relevant inquiry,” requiring dismissal of the Indictment.

Twersky, 1994 WL 319367, at *4. The situation here is analogous to the erroneous instruction

that led to the dismissal of the indictment in United States v. Braniff Airways, Inc., 428 F. Supp.

579 (W.D. Tex. 1977).




4
       Additionally, Agent Sheehy provided the grand jury with a false understanding of the law
concerning Medicare reimbursement, which improperly conveyed that Dr. Melgen’s multi-
dosing of Lucentis was illegal and that Senator Menendez’s purported “advocacy” of Dr. Melgen
was without merit. Those erroneous legal instructions prejudiced the grand jury against both
Defendants. (MTD No. 3 at 26-31.)


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       In Braniff, the prosecution had secured a criminal antitrust indictment against an airline,

but the prosecution never informed the grand jury that there was statutory immunity for airlines

in certain circumstances. As the court explained, “[n]o basis existed to indict these air carriers

under the Sherman Act if their conduct is immunized by virtue of acts performed under Section

414,” but “the grand jury was never informed of the immunization afforded interstate air carriers

when their activities fall under the provisions of Section 414 of the Federal Aviation Act.” Id. at

586. The court rejected the government’s arguments that it was “not required to inform the

grand jury of possible defenses” because immunity is different. Id. The

       distinction [is] that per se there can be no criminality in conduct which is made
       immune by statute. Whether the acts and conduct of the defendants were
       performed pursuant to the immunization afforded by the Federal Aviation Act,
       thus becomes a matter for grand jury determination. Yet if the elements of
       immunity are unknown to the grand jury, if the very existence of a statute
       conferring immunity is not disclosed, it is obviously unable to obtain the complete
       picture to which it is entitled for a proper decision.
Braniff Airways, Inc., 428 F. Supp. at 586. Consequently, the court found it necessary to “strike

the indictment.” Id. at 589; see also United States v. Breslin, 916 F. Supp. 438, 445-46 (E.D. Pa.

1996) (dismissing indictment for flawed legal instruction by prosecutor).

       The situation here is more serious than in Braniff. Here, the immunity at issue is a

constitutional, rather than a statutory, immunity. Moreover, in Braniff, the government simply

failed to instruct on the immunity. Here, the grand jury itself asked about the Speech or Debate

Clause, but the prosecution did not properly instruct the grand jury that it was a source of

immunity and affirmatively instructed the grand jury not to consider the Speech or Debate

Clause in its deliberations.

       Also instructive here is United States v. Stevens, 771 F. Supp. 2d 556 (D. Md. 2011).

The grand jury had charged a corporate executive with obstruction of justice, but the prosecutors

had given the grand jury erroneous legal advice when a grand juror “asked a question about the


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[defendant’s] advice of counsel defense.” Id. at 564. Although advice of counsel is labeled a

“defense,” the court explained that is a “misnomer” because it actually “negates the element of

wrongful intent of a defendant that is required for conviction.” Id. Because it goes to the

elements of what the government must prove, the court explained “the Government’s instruction

to the grand jury regarding the advice of counsel defense must be closely scrutinized.” Id. at

566.   Even if the government was not required to give any such instruction, “where a

prosecutor’s legal instruction to the grand jury seriously misstates the applicable law, the

indictment is subject to dismissal if the misstatement casts ‘grave doubt that the decision to

indict was free from substantial influence’ of the erroneous instruction.” Stevens, 771 F. Supp.

2d at 567 (quoting United States v. Peralta, 763 F. Supp. 14, 21 (S.D.N.Y. 1991)); see

Ciambrone, 601 F.2d at 623 (noting that “the prosecutor’s right to exercise some discretion and

selectivity in the presentation of evidence to a grand jury does not entitle him to mislead it”); id.

at 629 (Friendly, J., dissenting) (“[W]hen a grand juror requests advice, the prosecutor may not

fence with him but must respond fully and fairly.”). In Stevens, the error was that the prosecutor

conveyed that the defense was only applicable at trial, and that it was not something for the

grand jury to consider at the charging stage.         Id. at 567.   That required dismissal of the

indictment. Id. at 568.

       Stevens noted that the grand juror’s question about advice of counsel was “akin to asking

about the elephant in the room,” as there was considerable evidence the corporate executive led a

team of lawyers. Id. The same sort of situation existed here. There was considerable discussion

of the Speech or Debate Clause before the grand jury, so the jury understandably asked about it.

But unlike Stevens, in this case the prosecutors did not even inform the grand jury that the

Speech or Debate Clause provided a defense to liability (whether at trial, or prior to indictment).




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Instead, the prosecutors in this case essentially told the grand jury not to worry about it, that it

was not something that they needed to consider. Because the grand jury was precluded from

independently considering the issue of immunity in determining whether there was probable

cause, the Indictment must be dismissed.

       B.      Prosecutors Failed To Instruct The Grand Jury On Its Heightened Burden
               In Charging Political Contributions As Bribes And Dismissal Is Required

       The Indictment bases numerous charges of bribery on political contributions from Dr.

Melgen that allegedly benefited Senator Menendez. (Indict. ¶¶ 12, 16, 38-43, 46-63, 221, 243,

245, 247, 251, 255, 259, 265.) The Supreme Court, however, has held that because donors often

make political contributions to candidates and other entities with the expectation or hope that

those candidates will support the donor’s political agenda, such contributions may form the basis

of a criminal charge only if the government can prove that “the payments are made in return for

an explicit promise of undertaking by the official to perform or not to perform an official act.”

McCormick, 500 U.S. at 273 (emphasis added). Without such a restriction, officials who acted

for the benefit of donors “shortly before or after campaign contributions [were] solicited and

received” would constantly be in jeopardy; donors, in turn, would be discouraged from engaging

in constitutionally protected conduct. Id. at 272; see also United States v. Salahuddin, 765 F.3d

329, 343 n.9 (3d Cir. 2014) (noting the district court gave a proper instruction requiring an

“explicit promise” where political contributions are at issue) (emphasis in original). DOJ also

has indicated it will adhere to that distinction in this Circuit. United States v. Donna, 366 F.

App’x. 441, 444 n.3 (3d Cir. 2010) (noting the government had made assertions about corrupt

political contributions, but declining to address them further because “the government

acknowledges that is does not have evidence of an explicit quid pro quo . . . and it acknowledges

that campaign contributions cannot satisfy a quid pro quo requirement for a criminal conviction


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arising from the payment and receipt of the contributions unless the agreement was explicit.”)

(emphasis in original). The prosecutors, however, did not do so in this case.

       The Indictment is completely silent about the supposed agreement between Senator

Menendez and Dr. Melgen – no “explicit” agreement is charged and no evidence of an “explicit”

agreement was put before the grand jury because there was no such agreement. Rather, all the

Indictment alleges is what the Supreme Court in McCormick found to be insufficient: inference

of an explicit agreement by comparing the timing of official acts with the timing of campaign

contributions. In short, the Indictment fails to allege an explicit quid pro quo, and the reason for

that is clear – there is no evidence of it, and the prosecution failed to instruct the grand jury on

this element of the offense.

       That makes this case similar to Peralta. There, the government secured an indictment for

drug possession, but the grand jury had questioned the prosecutor about how they could establish

possession when there was no evidence of actual possession. The prosecutor explained that the

government’s theory was based on constructive possession, but his instruction to the jury was

erroneous and suggested it was far easier for the government to establish constructive possession

than the law allows. 763 F. Supp. at 18-20. The Court dismissed the indictment because those

instructions lowered the government’s burden, so that the grand jury could find probable cause

based on less of a showing than the law requires. Id. at 21.

       The same problem occurred here. While a jury can understand the role of ordinary gifts

and of actual possession, the jury would not understand the McCormick limitation on campaign

contributions or the law of constructive possession without adequate instructions. As in Peralta,

the failure to give a proper instruction here allowed the government to improperly lower its

burden and thereby obtain an Indictment using an improper standard for probable cause.




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       The situation here is also similar to United States v. Cerullo, 2007 WL 2462111 (S.D.

Cal. 2007). There, a minister was prosecuted for tax evasion for not reporting all the money he

received in collections following his sermons. The Supreme Court had issued a decision that

provided “the definitive authority” on how to distinguish taxable income from non-taxable gifts,

but the prosecutor did not explain that distinction to the grand jury. Id. at *1-2. The court noted

that the “tax statute is silent” on this issue and “the prosecutor did not attempt to inform the

grand jury of the Supreme Court’s decision.” Id. at *3. Although there was “no deliberate

malice or malicious intent to mislead,” the court found the grand jury was misled as to the

government’s burden and the indictment had to be dismissed. Cerullo, 2007 WL 2462111 at *3

n.3. In doing so, the court noted that “the grand jury was making judgments on[] an area that is

dangerously close to the wide freedoms protected by the First Amendment Free Exercise

Clause.” Id. at *4.

       As in Cerullo, the prosecutors’ failure to explain a relevant Supreme Court decision

compromised the grand jury’s ability to determine probable cause. And like Cerullo, the conduct

here also comes “dangerously close” to protected First Amendment freedoms.                Political

contributions to candidates and other entities are protected by the First Amendment. See, e.g.,

McCutcheon v. FEC, 134 S. Ct. 1434, 1444 & n.2 (2014); SpeechNow.org v. FEC, 599 F.3d

686, 694-95 (D.C. Cir. 2010) (en banc).       The Court should protect this First Amendment

principle by dismissing an indictment that is returned by a grand jury that has not been instructed

on whether there was an “explicit” agreement to engage in bribery. (See MTD No. 8 (First

Amendment).)




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       C.      Prosecutors Erroneously Instructed That Gifts To Obtain Access To A
               Senator Constitute Bribery And Dismissal Is Required

               1.      Prosecutors improperly suggested gifts to obtain access to a Senator
                       constitute bribery

       Prosecutors tried to build a case for the grand jury that Dr. Melgen obtained special

access to Senator Menendez by giving him things of value, including campaign contributions –

as though Dr. Melgen needed to “buy” special access to one of his closest friends of more than

20 years, to whom he had the same “access” long before his friend was a Senator. For example,

Mr. Koski repeatedly asked Senator Menendez’s former Chief of Staff, Daniel O’Brien, whether

“an ordinary citizen” would “have the same access to Senator Menendez that Dr. Melgen had?”

(O’Brien 1/21/15 Tr. at 84-85 (emphasis added).)            O’Brien answered that “[c]ampaign

contributions I would say facilitate access. I don’t think they facilitate decisions or legislation,

but it’s clear that, you know, folks who give contributions get access to elected officials across

the board.” (Id. at 84.) He added “it’s their constitutional right – they, by proximity they gain,

they gain the ear of legislators and policymakers and decision makers. It’s the process.” (Id. at

85.) Mr. Koski jumped on this answer as though it was some major concession of illegal

conduct (which is how the grand jury must have understood the exchange). He asked: “So you

don’t dispute that Dr. Melgen had special access to Senator Menendez?” (Id. (emphasis added).)

Again, O’Brien explained that Dr. Melgen had access, but “[i]t wasn’t that, oh, we have to do

this because Dr. Melgen brought this issue to Senator Menendez’s attention.” (Id.)

               2.      The prosecutors’ efforts to lower the bar on what constitutes bribery
                       required dismissal

       Despite Mr. Koski’s apparent beliefs to the contrary, the Supreme Court has categorically

rejected any attempt by the government to equate “access” or “special access” with corruption.




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       The fact that speakers [i.e., political donors] have influence over and access to
       elected officials does not mean that these officials are corrupt: “Favoritism and
       influence are not . . . avoidable in representative politics. It is in the nature of an
       elected representative to favor certain policies, and, by necessary corollary, to
       favor the voters and contributors who support those policies. It is well understood
       that a substantial and legitimate reason, if not the only reason, to cast a vote for,
       or to make a contribution to, one candidate over another is that the candidate will
       respond by producing those political outcomes the supporter favors. Democracy
       is premised on responsiveness.” Reliance on a “generic favoritism or influence
       theory . . . is at odds with standard First Amendment analyses because it is
       unbounded and susceptible to no limiting principle.”

(Citizens United v. FEC, 558 U.S. 310, 359 (2010) (quoting McConnell v. FEC, 540 U.S. 93,

296-97 (2003) (emphasis added)); see MTD No. 8 at 3-8.) The Court emphasized: “Ingratiation

and access, in any event, are not corruption.” Id. at 360. Moreover, efforts to hinder the “ability

to influence” were held to be unconstitutional under the First Amendment in Sorrell v. IMS

Health Inc., 131 S. Ct. 2653, 2670 (2011).

       In McCutcheon v. FEC, the Supreme Court explained “the possibility that an individual

who spends large sums of money may garner ‘influence or access to’ elected officials or political

parties” “does not give rise to such quid pro quo corruption.” 134 S. Ct. at 1434 (plurality op.).

Accordingly, “the Government may not seek to limit the appearance of mere influence or

access,” because there is no governmental interest in such a limitation, and thus no compelling

interest to outweigh a donor’s First Amendment rights. Id. at 1451. Just this Term, in upholding

restrictions on judicial campaigns, the Court noted that in legislative campaigns, “politicians are

expected to be appropriately responsive to the preferences of their supporter” and to provide

“special consideration to his campaign donors.” Williams-Yulee v. The Florida Bar, 135 S. Ct.

1656, 1667 (2015) (emphasis added).             Conversely, judges are expected to maintain

independence. Indeed, as Justice Ginsburg explained, “‘Favoritism,’ i.e., partiality,” may be

“inevitable in the political arena.”     Id. at 1674 (Ginsburg, J., concurring); see also id.




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(“‘[f]avoritism and influence’ are inevitable ‘in representative politics.’”) (emphasis in original)

(citations omitted).

       The prosecution’s statements to the grand jury that Dr. Melgen’s access to Senator

Menendez was the quo in some kind of quid pro quo abrogated First Amendment principles that

apply in bribery cases involving political contributions. Not only is there nothing corrupt about

efforts to facilitate access to an elected official, but efforts to criminalize the giving of donations

to a campaign (or otherwise prohibit such access) infringe upon the freedoms of speech and

association at the heart of the First Amendment. Yet, over and over, it appears that “access” and

mere favoritism are the quo repeatedly charged in the Indictment. For example, several counts

charge that Dr. Melgen gave things of value with the intent to influence Senator Menendez in

only the most generic sense – “in the performance of official acts, as opportunities arose.”

(Indict. ¶¶ 229 (Count 2), 231 (Count 3), 235 (Count 5), 239 (Count 7), 243 (Count 9), 247

(Count 11).) While hardly a model of clarity (which raises numerous questions about what

opportunities the grand jury believed were covered by the alleged agreement, their basis for

speculating on that, and whether they agreed on the object of this supposed conspiracy), the

Indictment squarely criminalizes access. The grand jury certainly could have understood that to

mean that Dr. Melgen’s support for Senator Menendez would grant the access to raise issues

with him as opportunities arose, and that Dr. Melgen would be more likely to receive the

Senator’s attention for requests such as asking an Embassy to give a visa application “all due

consideration within the requirements of the law.” (Indict. ¶ 88.) But that is not legally

cognizable bribery or corruption. In this sense, the error here is much like Cerullo, where an

indictment was dismissed because the prosecutor’s conduct invited the grand jury to cross First

Amendment boundaries. Cerullo, 2007 WL 2462111, at *4.




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       The difference between mere “access” or “favoritism” and unlawful corruption is an issue

that cried out for an instruction before the grand jury. As the Supreme Court has noted,

       [t]he line between quid pro quo corruption and general influence may seem vague
       at times, but the distinction must be respected in order to safeguard basic First
       Amendment rights. In addition, [i]n drawing that line, the First Amendment
       requires us to err on the side of protecting political speech rather than suppressing
       it.

McCutcheon, 134 S. Ct. at 1451. Without such an instruction, grand jurors may very well cross

that line and return an indictment based on constitutionally protected First Amendment activity,

i.e., contributions that were made merely to obtain access, as opposed to a specific official act.

See, e.g., Williams-Yulee, 2015 WL 1913912, at *11 (“Just as inevitably, the personal

involvement of the candidate in the solicitation creates the public appearance that the candidate

will remember who says yes, and who says no.”).

       Nevertheless, the prosecutors do not appear to have provided any instruction to the grand

jury (at least in what has been provided the defense) that reflects any attempt to draw this “line

between quid pro quo corruption and general influence,” much less a line that errs on the side of

protecting First Amendment values. The absence of such an instruction was error, and it invited

a wrongful finding of probable cause. This error was further compounded by the government’s

implications that Dr. Melgen’s “access” to his friend Senator Menendez was improper.

Dismissal of the Indictment is required.

II.    THE ERRONEOUS MODEL GRAND JURY INSTRUCTIONS REQUIRE
       DISMISSAL OF THE INDICTMENT

       The effective administration of our criminal justice system depends on each of the

system’s constituent elements functioning properly. The system relies on checks and balances to

preserve fundamental fairness throughout the adjudication process. By design, the grand jury is

to serve as a buffer, preventing criminal cases from advancing to trial solely at the discretion of



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the prosecutor.5 In this respect, the grand jury acts as an impartial gatekeeper, screening out

charges not warranting prosecution.

       Defendants did not get the benefit of the Fifth Amendment right to an independent and

properly charged grand jury, because it appears that the charge given to the grand jury

improperly advised grand jurors that they must indict on all charges if they find that probable

cause exists. In addition, the grand jury charge also appears to have impermissibly vouched for

the prosecutors’ credibility.6

       Unfortunately, prosecutors throughout the country routinely ask courts to instruct grand

jurors using the Model Grand Jury Charge adopted by the Federal Judicial Conference, a charge

that is constitutionally flawed. (Ex. A.) This charge instructs grand jurors that they “must”

indict if they find probable cause, even though they are entitled to return a no bill even when

they find probable cause. (Id.) In addition, the charge improperly praises the prosecutors and


5
        The grand jury must be an investigating body “acting independently of either prosecuting
attorney or judge.” United States v. Williams, 504 U.S. 36, 49 (1992) (quotations omitted); see
also Stirone, 361 U.S. at 218-19 (“[T]he right to have the grand jury make the charge on its own
judgment is a substantial right which cannot be taken away . . . .”); Calandra, 414 U.S. at 344.
Indeed, “[a] grand jury investigation ‘is not fully carried out until every available clue has been
run down and all witnesses examined in every proper way to find if a crime has been
committed.’” Id. (quoting United States v. Stone, 429 F.2d 138, 140 (2d Cir. 1970)); Williams,
504 U.S. at 47 (finding function of grand jury is to “serv[e] as a kind of buffer or referee between
the Government and the people”); Branzburg v. Hayes, 408 U.S. 665, 686-87 (1972) (noting the
“ancient role” of the grand jury in both determining if there is probable cause to believe a crime
has been committed and in protecting citizens against unjust prosecution); In re Grand Jury
Subpoena, 745 F.3d 681, 687 n.2 (3d Cir. 2014) (“The grand jury belongs to no branch of the
government, instead “serving as a kind of buffer or referee between the Government and the
people.”) (quoting In re Impounded, 241 F.3d 308, 312 (3d Cir. 2001)).
6
        While the prosecution has provided the Defendants with all testimony before the grand
jury, the prosecution has refused to provide the Defendants with the grand jury charge. Through
a separate motion, filed today, the Defendants ask the Court to order disclosure of all instructions
to the grand jury. Absent information to the contrary, Defendants can only assume the model
grand jury charge was given. If it is established that the grand jury received proper instructions,
Defendants will withdraw this part of the motion.


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vouches for their credibility, thereby stripping the grand jury of its independence. (Id.) And, the

charge even instructs grand jurors that they cannot question the wisdom of the law at issue, even

though the historic and constitutional function of the grand jury is to do just that.

       Accordingly, Defendants move this Court to dismiss the Indictment for failing to

properly charge the grand jury. Because this failure constitutes a structural error, dismissal of

the Indictment is warranted, and the Court must view this “conduct cumulatively” in determining

whether the Grand Jury Clause of the Fifth Amendment was violated.7

       A.      The Model Grand Jury Instructions Are Unconstitutional Because They
               Instruct Grand Jurors They Must Indict Upon Finding Probable Cause

       The charge impermissibly instructed the grand jury that it had to indict if it found

probable cause. The Supreme Court has made clear this model instruction is wrong:

       The grand jury does not determine only that probable cause exists to believe that a
       defendant committed a crime, or that it does not. In the hands of the grand jury
       lies the power to charge a greater offense or a lesser offense; numerous counts or
       a single count; and perhaps most significant of all, a capital offense or a
       noncapital offense – all on the basis of the same facts. Moreover, “[t]he grand
       jury is not bound to indict in every case where a conviction can be obtained.”
Vasquez v. Hillery, 474 U.S. 245, 263 (1986) (quoting Ciambrone, 601 F.2d at 629 (Friendly, J.,

dissenting)).8 “Since it has the power to refuse to indict even where a clear violation of law is




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        Hogan, 712 F.2d at 761; see Samango, 607 F.2d at 884; cf. United States v. Helmsley,
866 F.2d 19, 21 n.2 (2d Cir. 1989) (“[T]he Supreme Court made clear that a pre-conviction
challenge may be made on the ground that errors in grand jury proceedings affected the decision
to indict.”) (citing Bank of Nova Scotia v. United States, 487 U.S. 250 (1988)); United States v.
Isgro, 974 F.2d 1091, 1094 (9th Cir. 1992) (“[A] district court may dismiss an indictment if it
perceives constitutional error that interferes with the grand jury’s independence and the integrity
of the grand jury proceeding.”).
8
        See also United States v. Asdrubal-Herrera, 470 F. Supp. 939, 942 (N.D. Ill. 1979) (“Just
as a prosecutor can, in the exercise of discretion, decline prosecution in the first instance, a grand
jury can return a true bill or a no bill as they deem fit.”); 1 S. Beale et al., Grand Jury L. and
Prac. § 1:7 at 1-31 (2d ed. 1997) (“The indicting grand jury – like the trial jury – may also shield


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shown, the grand jury can reflect the conscience of the community in providing relief where

strict application of the law would prove unduly harsh.” Gaither v. United States, 413 F.2d

1061, 1066 n. 6 (D.C. Cir. 1969).9

       The model grand jury charge misleadingly tells grand jurors their sole responsibility is to

determine probable cause. The charge states “[t]he purpose of the Grand Jury is to determine

whether there is sufficient evidence to justify a formal accusation against a person.”

       Your task is to determine whether the government’s evidence as presented to you
       is sufficient to cause you to conclude that there is probable cause to believe that
       the accused is guilty of the offense charged against him. To put it another way,
       you should vote to indict where the evidence presented to you is sufficiently
       strong to warrant a reasonable person’s believing that the accused is probably
       guilty of the offense with which [the accused] is charged.

(Ex. A.) Using the singular terms “task” and “purpose,” without ever addressing any other tasks

or purposes, misleadingly conveys that grand jurors must indict whenever probable cause is

found when, in fact, “[t]he grand jury is not bound to indict in every case where a conviction can

be obtained.” Vasquez, 474 U.S. at 263.

       This grand jury charge also deprives the grand jury of the ability to act as the conscience

of the community by advising the grand jury that it cannot consider either the merit of the law

allegedly broken or the seriousness of the sentence that could be imposed. The charge provides:


the accused from the criminal charges even though there is an adequate evidentiary basis if the
grand jurors conclude that the charges are improperly motivated or unjust.”).
9
       See also United States v. Sanchez, 269 F.3d 1250, 1311-12 (11th Cir. 2001) (en banc)
(Barkett, J., concurring) (“Under the Fifth Amendment the Constitution gives the grand jury
complete discretion to provide the parameters of a criminal proceeding, vesting it with the power
to indict based on the evidence presented to it and the absolute choice not to indict,
notwithstanding any evidence presented.”); United States v. Cox, 342 F.2d 167, 189-90 (5th Cir.
1965) (Wisdom, J., concurring) (“By refusing to indict, the grand jury has the unchallengeable
power to defend the innocent from government oppression by unjust prosecution. And it has the
equally unchallengeable power to shield the guilty, should the whims of the jurors or their
conscious or subconscious response to community pressures induce twelve or more jurors to give
sanctuary to the guilty.”).


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       You cannot judge the wisdom of the criminal laws enacted by Congress, that is,
       whether or not there should or should not be a federal law designating certain
       activity as criminal. That is determined by Congress and not by you.
       Furthermore, when deciding whether or not to indict, you should not be concerned
       about punishment in the event of conviction. Judges alone determine punishment.

(Ex. A.) But a grand jury that is forbidden from considering the importance of the law allegedly

broken or penalty that could be imposed is not in any position to weigh whether the prosecution

squares with the conscience of the community.10 This language reinforces the “should vote to

indict” when provable cause is shown language by precluding the grand jury from considering

anything other than its singular “task” and “purpose” of finding probable cause. Read together,

these directives mislead the grand jury into believing it must indict if probable cause is shown,

even if their constitutional prerogative and the conscience of the community is otherwise.

       The Third Circuit never has confronted questions concerning the constitutionality of the

Model Grand Jury Charge. Thus far, only the Ninth and Eleventh Circuits have addressed the

issue. United States v. Marcucci, 299 F.3d 1156, 1162 (9th Cir. 2002); United States v. Navarro-

Vargas, 408 F.3d 1184 (9th Cir. 2005) (en banc); United States v. Knight, 490 F.3d 1268, 1272

(11th Cir. 2007).11 Although the majority in each of those instances found that there was no

constitutional violation, the dissenting opinions provide the more persuasive argument. The

majority in Marcucci admitted that the grand jury has a right not to indict but raised concerns

about the practical implications of telling a grand jury that it had discretion not to indict.

10
        Judge Kozinski explains there is a significant distinction between a grand jury refusing to
indict based on a disagreement with whether a law merits the applicable punishment and a petit
jury engaging in jury nullification. United States v. Navarro-Vargas, 367 F.3d 896, 903 (9th Cir.
2004) (Kozinski, J., dissenting), withdrawn and en banc review granted, 408 F.3d 1184 (9th Cir.
2005) (en banc) (Judge Kozinski was not part of the en banc panel).
11
       The Eleventh Circuit summarily followed Navarro-Vargas in concluding that the Model
Grand Jury Charge did not require the grand jury to indict upon a finding of probable cause. Id.
The Eleventh Circuit did not consider the separate issue, addressed below, of whether the grand
jury charge impermissibly vouched for the government.


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Marcucci, 299 F.3d at 1161-64. The majority concluded there was no violation because the

instructions did not tell the grand jury that it “‘shall’ or ‘must’ indict, but merely that it ‘should’

indict, in the event it finds probable cause.” Id. at 1159. The court found that “[t]he language

does not eliminate discretion on the part of grand jurors,” although it admitted that such language

left the grand jury only “limited room” to reject an indictment. Id. at 1159, 1164.

       Yet, it is hard to deny Judge Hawkins’ dissenting observation, “[a]s to the ‘should’ or

‘shall’ distinction, it is a lawyer’s distinction – not a difference to which most lay people sitting

as grand jurors are likely alert.” Id. at 1170 (Hawkins, J., dissenting). The language referring to

the “purpose” of the grand jury would lead “[a] grand juror paying close attention [to] conclude

that the purpose of the grand jury is singular [i.e., requiring indictment if probable cause is

shown] and that its discretion is constrained by the instruction.” Id. at 1167; Id. at 1169 (“[grand

jurors] were misled by these instructions, told that their powers are restricted to determining

probable cause”). The charge’s language that follows advising that grand jurors “should vote to

indict” if they find probable cause “seems to compel the grand jury to indict as long as probable

cause exists.” Id. at 1167.

       In Navarro-Vargas, the en banc Ninth Circuit upheld the instruction, but it was far from

complimentary of it.

       [W]e do not necessarily hold that the current instructions could not or should not
       be improved. We recognize the commentary pointing to discrete changes that
       tend to reduce the independence of the modern grand jury and the commentary
       urging reform in expanding the grand jury’s duty and role in the criminal process.
       We even concede that there may be more done to further increase the shielding
       power of the modern federal grand jury.
Navarro-Vargas, 408 F.3d at 1207. The grand jury and prosecutor serve as a check against one

another. Id. at 1200. Yet the majority dismissed the defendant’s objections as a “matter of pure

semantics” and refused to differentiate “should” from “shall.” Id. at 1205.



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       Judge Hawkins, dissenting with Judges Pregerson, Fletcher, and Berzon, correctly

asserted that “a grand juror paying close attention would conclude that the purpose of the grand

jury is singular and that its discretion is constrained by the [model] instruction.” Id. at 1210

(Hawkins, J., dissenting). Rather than “pure semantics,” the “instruction’s use of the word

“should” is most likely to be understood as imposing an inflexible “duty or obligation” on grand

jurors, and thus to circumscribe the grand jury’s constitutional independence.” Id. at 1211. The

grand jury cannot protect against the other branches of government when its independence is so

limited as to proactively prevent it from acting as the “conscience of the community.” Id.12

       B.      The Instructions Impermissibly Encourage Deference To The Prosecution

       In addition, the model grand jury instructions impermissibly vouch for the prosecution by

noting the “candor, honesty and good faith in matters presented by government attorneys.” (Ex.

A.) As Judge Hawkins remarked:

       One can only wonder: how truthful can these declarations be when prosecutors
       are free to deprive the grand jurors of exculpatory evidence, to provide
       unconstitutionally seized evidence, and to present evidence otherwise

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        Judge Hawkins also took note of Judge Kozinski’s thoughts on the issue, in a dissent
from a withdrawn opinion. Navarro-Vargas, 408 F.3d at 1212 (citing United States v. Navarro-
Vargas, 367 F.3d 896, 899-903 (9th Cir. 2004)). Performing an “undeniably prosecutorial
function,” the grand jury “must have the power to consider the wisdom of a law,” because “not
every potential crime can (or should) be investigated or prosecuted, and an important part of the
prosecutorial function is deciding which potential defendants to select for criminal prosecution
and how serious the charges should be.” Id. at 1213. Because prosecutors “can, and often do,
make such decisions based on their judgments as to how wise and important certain laws may
be,” it would be hypocritical to deny the grand jury the same prerogative. Id. When even the
majority opinion acknowledged “that a grand jury has the power to refuse to indict someone
even when the prosecutor has established probable cause,” it cannot follow that such discretion
can be hidden from those serving on that body without violating the defendant’s constitutional
rights. Id. at 1214; see Roger A. Fairfax, Grand Jury Discretion and Constitutional Design, 93
Cornell L. Rev. 703, 706 (2008) (endorsing the Hawkins-Kozinski approach); Niki Kuckes, The
Democratic Prosecutor: Explaining the Constitutional Function of the Federal Grand Jury, 94
Geo. L.J. 1265, 1289 (2006) (finding it “striking that the Vasquez line of authority finds no
expression in the Model Charge.”).


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       inadmissible at trial. More urgently, how independent can a grand jury be when
       they are told how wonderful the prosecutors are? . . . . “[A] grand jury cannot be
       ‘independent’ if the prosecutors’ virtues are extolled to them without mention of
       the prosecutors’ ability to present to the grand jurors far less than the whole
       story.”
Marcucci, 299 F.3d at 1170 (Hawkins, J., dissenting) (citations omitted).

       The Courts have been clear that a judge must refrain from communicating to the jury in a

prejudicially partisan manner, and that even a later statement is not enough to cure such an error.

Quercia v. United States, 289 U.S. 466, 468-69 (1933). Because “a judge’s words to the jury

carry an authority bordering on the irrefutable,” courts must “strive for neutrality and absolute

circumspection,” and when the “boundary of tolerance has been invaded and abused,” the Court

must reverse. Moody v. United States, 377 F.2d 175, 179-80 (5th Cir. 1967).13 The model grand

jury charge’s commentary about the prosecutors violates this principle, as it impermissibly

vouches for the “candor, honesty, and good faith” of the prosecutors. As Judge Hawkins wrote,

“the grand jury’s independence is diluted by this instruction, which encourages deference to

prosecutors.” Navarro-Vargas, 408 F.3d at 1215 (Hawkins, J., dissenting).

       C.      The Erroneous Charge Created A Structural Error, Requiring Reversal

       “When constitutional error calls into question the objectivity of those charged with

bringing the defendant to judgment, a reviewing court can neither indulge a presumption of

regularity nor evaluate the resulting harm.” Vasquez, 474 U.S. at 263. Because it is impossible

to know how a grand jury that operates in secret would have acted had it been properly

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        The Circuits have reversed convictions for much less. United States v. Assi, 748 F.2d 62,
68 (2d Cir. 1984) (reversing a conviction where among other things the judge “vouched for the
credibility of the prosecutor by referring the jury to ‘the words of the distinguished Assistant
United States Attorney who’s been handling this case before us.’”). The Second Circuit has
made it clear that “[i]t is not proper for a court to refer to the high character of counsel,
especially of only one side.” Id.; cf. United States v. Pellegrino, 470 F.2d 1205, 1207 (2d Cir.
1972) (advising judges “not to prejudice a party or create an impression of partisanship before
the jury”).


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instructed, it is appropriate to presume prejudice for constitutional violations because the

alternative would require “unguided speculation.” Bank of Nova Scotia v. United States, 487

U.S. 250, 257 (1988); see Peralta, 763 F. Supp. at 20-21 (dismissing indictment because grand

jury instructions were misleading); United States v. Vetere, 663 F. Supp. 381, 383 (S.D.N.Y.

1987) (same).14

                                       CONCLUSION

       The grand jury was erroneously instructed on critical constitutional issues, which

prevented the grand jury from safeguarding the Defendants’ rights. These erroneous instructions

compromised the Defendants’ Fifth Amendment right to an independent grand jury.

Accordingly, the Indictment must be dismissed.

                                   Respectfully submitted,

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        A “presumption of prejudice” is warranted because “the structural protections of the
grand jury have been so compromised as to render the proceedings fundamentally unfair.” Nova
Scotia, 487 U.S. at 257. “[I]t is conceivable that a grand jury made aware of its role as
“conscience of the community” would have provided “relief where strict application of the law
would prove unduly harsh,”” making finding structural error due to “unguided speculation” a
necessity. Navarro-Vargas, 408 F.3d at 1216-17 (Hawkins, J., dissenting).


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